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                                       No. 21-1168

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


        SONY MUSIC ENTERTAINMENT; ARISTA MUSIC; ARISTA RECORDS,
           LLC; LAFACE RECORDS LLC; PROVIDENT LABEL GROUP, LLC;
              SONY MUSIC ENTERTAINMENT US LATIN LLC; VOLCANO
         ENTERTAINMENT III, LLC; ZOMBA RECORDINGS LLC; SONY/ATV
           MUSIC PUBLISHING LLC; EMI AI GALLICO MUSIC CORP.; EMI
          ALGEE MUSIC CORP.; EMI APRIL MUSIC INC.; EMI BLACKWOOD
        MUSIC INC.; COLGEMS-EMI MUSIC INC.; EMI CONSORTIUM MUSIC
            PUBLISHING INC., d/b/a EMI Full Keel Music; EMI CONSORTIUM
          SONGS, INC., d/b/a EMI Longitude Music; EMI FEIST CATALOG INC.;
         EMI MILLER CATALOG INC.; EMI MILLS MUSIC, INC.; EMI UNART
         CATALOG INC.; EMI U CATALOG INC.; JOBETE MUSIC COMPANY,
            INC.; STONE AGATE MUSIC; SCREEN GEMS-EMI MUSIC, INC.;
               STONE DIAMOND MUSIC CORP.; ATLANTIC RECORDING
                CORPORATION; BAD BOYS RECORDS LLC; ELEKTRA
              ENTERTAINMENT GROUP, INC.; FUELED BY RAMEN LLC;
                ROADRUNNER RECORDS, INC.; WARNER-TAMERLANE
        PUBLISHING CORP.; WB MUSIC CORP.; UNICHAPPELL MUSIC, INC.;
           RIGHTSONG MUSIC INC.; COTILLION MUSIC, INC.; INTERSONG
           U.S.A., INC.; UMG RECORDINGS, INC.; CAPITOL RECORDS, LLC;
           UNIVERSAL MUSIC CORP.; UNIVERSAL MUSIC – MGB NA LLC;
              UNIVERSAL MUSIC PUBLISHING INC.; UNIVERSAL MUSIC
          PUBLISHING AB; UNIVERSAL PUBLISHING LIMITED; UNIVERSAL
         MUSIC PUBLISHING MGB LIMITED; UNIVERSAL MUSIC – Z TUNES
            LLC; UNIVERSAL/ISLAND MUSIC LIMITED; UNIVERSAL/MCA
        MUSIC PUBLISHING PTY. LIMITED; POLYGRAM PUBLISHING, INC.;
         SONGS OF UNIVERSAL, INC.; WARNER RECORDS, INC., f/k/a W.B.M.
                                     Music Corp.,

                                                                    Plaintiffs-Appellees
                                           and

           NONESUCH RECORDS INC.; WARNER BROS. RECORDS, INC.;
          WARNER CHAPPELL MUSIC, INC. f/k/a Warner/Chappell Music, Inc.;
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            W.C.M. MUSIC CORP., f/k/a W.B.M. Music Corp.; POLYGRAM
        INTERNATIONAL TUNES, INC.; UNIVERSAL – SONGS OF POLYGRAM
         INTERNATIONAL, INC.; UNIVERSAL POLYGRAM INTERNATIONAL
         PUBLISHING, INC.; MUSIC CORPORATION OF AMERICA, INC., d/b/a
           Universal Music Corporation; RONDOR MUSIC INTERNATIONAL,

                                                                           Plaintiffs,

                                          v.

                 COX COMMUNICATIONS, INC. AND COXCOM, LLC,
                                                 Defendants-Appellants


              ON APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF VIRGINIA, 1:18-CV-00950-LO-JFA


           AMICUS CURIAE BRIEF OF NTCA – THE RURAL BROADBAND
            ASSOCIATION; CTIA – THE WIRELESS ASSOCIATION; AND
          USTELECOM – THE BROADBAND ASSOCIATION IN SUPPORT OF
                 DEFENDANTS-APPELLANTS AND REVERSAL

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        June 1, 2021


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                        CORPORATE DISCLOSURE STATEMENT

              NTCA – The Rural Broadband Association, CTIA – The Wireless

        Association, and USTelecom – The Broadband Association (“Amici”) are non-

        profit associations of service providers and suppliers for the telecom industry.

        Their members provide broadband internet access services to millions of

        consumers and businesses across the country. Amici have no parent corporations,

        and no publicly held corporation owns 10 percent or more of any of Amici’s stock.




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                      STATEMENT REGARDING CONSENT TO FILE

              All parties have consented to the filing of this brief.

              Pursuant to Fed. R. App. P. 29(c), amici state that no counsel for a party

        authored this brief in whole or in part, and no counsel or party made a monetary

        contribution intended to fund the preparation or submission of this brief. No

        person other than amici or their counsel made a monetary contribution to the

        brief’s preparation or submission.




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                               INTEREST OF AMICUS CURIAE

              Amici NTCA, CTIA, and USTelecom are leading trade associations

        representing broadband internet service providers (“ISPs”) and suppliers for the

        telecommunications industry.

              NTCA represents nearly 850 community-based voice and broadband service

        providers in the most rural parts of the United States, who deliver essential

        connectivity services in rural and small-town communities across the United

        States.

              CTIA represents the wireless communications industry. Members include

        mobile and fixed wireless broadband Internet service providers, providers of other

        wireless services, device manufacturers, and other wireless industry participants.

              USTelecom’s member companies offer a wide range of services across

        communications platforms, including voice, video, and data over local exchange,

        long distance, wireless, internet, and cable. USTelecom’s diverse member base

        ranges from large publicly traded communications corporations to small companies

        and cooperatives—providing advanced communications services to both urban and

        rural markets across the country.

              Amici advocate on behalf of their members before Congress, regulators, and

        the courts for policies that will ensure all Americans have access to high-speed

        broadband connectivity and the ability to benefit from the opportunities broadband


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        enables. The associations regularly participate in advocacy to protect a fair and

        predictable legal environment for their members to offer critical services that

        connect America. E.g., New York State Telecommunications Assoc., Inc. v. James,

        No. 2:21-cv-2389, Dkt. No. 1 (E.D.N.Y. Apr. 30, 2021). They also file amicus

        briefs in cases, like this, that threaten to harm the ability of American consumers to

        benefit from advanced communications services. E.g., BMG Rights Mgmt. (US)

        LLC v. Cox Comms., Inc., No. 16-1972, Dkt. No. 31-1 (4th Cir. Nov. 14, 2016).

              ISPs perform an essential function in the internet ecosystem by developing,

        operating, and maintaining the network infrastructure required to facilitate reliable,

        ubiquitous internet access. From 1996 through 2019, ISPs invested $1.78 trillion

        building out their networks, providing Americans with the capability to access the

        internet at dizzying speeds. The depth and breadth of broadband deployment

        across competing platforms has spurred a dynamic of competitive investment and

        innovation among networks, applications, content, and devices, providing

        substantial benefits to consumers and the United States economy. The import of

        these efforts became particularly clear over the past 14 months, as broadband

        networks sustained virtually all facets of American life during the COVID crisis.

              Amici’s members are adversely affected by the district court’s decision

        finding that Appellees’ notices of alleged infringement provided the requisite

        knowledge of infringement to support a contributory infringement claim. As a


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        result of the district court’s decision, Amici’s members could face an impossible

        choice: incur substantial potential liability for copyright infringement merely for

        transmitting content over their networks or participate in a system that forces

        service termination and unjustly deprives Americans of critical internet access

        without due process or other reasoned consideration.

              In recent years, Amici’s members have experienced a substantial increase in

        the volume of deficient notices and associated demands from copyright holders and

        their agents related to content transmitted over Amici’s members’ networks. One

        of Amici’s members was bombarded with over two million notices in one day,

        causing the server for inbound copyright notices to crash.        Deficient notices

        interfere with the business of Amici’s members, make it virtually impossible to

        identify and respond to instances of actual copyright infringement, and threaten to

        deny consumers’ access to the benefits of the internet by demanding that users’

        access be terminated.

                                 SUMMARY OF ARGUMENT

              Amici urge the Court to reverse the district court’s order granting summary

        judgment to Appellees.        The district court’s finding—that Cox had specific

        knowledge of infringement it could act on, based on its receipt of notices of alleged

        past infringement—raises grave public policy and practical implications. The

        Court should correct this decision and clarify when, if ever, a transmission ISP—


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        which does not host data, and instead acts as a mere conduit to transmit data for its

        customers—gains “specific knowledge” that its services are being used for

        infringing purposes and, therefore, must cut off a subscriber’s access to what has

        become an indispensable tool for all aspects of American life.

              First, the district court imputed knowledge to Cox based on non-specific and

        often equivocal information.       The notices that purportedly conveyed this

        knowledge failed to meet analogous statutory requirements for specific knowledge

        and did not reasonably inform Cox of acts of direct infringement by its subscribers.

        The ruling also suggests that any subscriber whose IP address appears on a notice

        should have their internet service disconnected, without a finding of copyright

        infringement or even whether the IP address points to the actual “infringer.” Thus,

        the ruling could force ISPs to terminate internet access to entire households and

        businesses based on unverifiable allegations of bad acts by some unidentified

        individual using the ISP’s network to connect to the internet.

              Second, the district court’s ruling runs afoul of this Court’s prior holding

        that for an ISP to be liable for contributory infringement, the ISP must possess

        knowledge that it can “do something about.” BMG Rights Mgmt. (US) LLC v. Cox

        Commc’ns, Inc., 881 F.3d 293, 312 (4th Cir. 2018). Transmission ISPs, by the

        nature of their services, cannot do anything to impact the alleged infringements

        identified in Appellees’ notices because the alleged infringements already


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        occurred.   At most, transmission ISPs can look at the notices and attempt a

        probability determination of whether a particular IP address is likely to be used for

        allegedly infringing activities again in the future.         However, a probability

        determination is just that—a guess about what might occur rather than specific

        knowledge about what will occur.

              The district court did not decide, nor could it have decided on summary

        judgment, whether Cox knew or willfully blinded itself to the substantial certainty

        of future infringement by each implicated subscriber. Nor did the district court

        articulate a reasonable standard for identifying that knowledge. Instead, the district

        court simply accepted (on summary judgment, no less) that if a particular IP

        address was identified in three notices of alleged infringement, Cox obtained

        specific knowledge that the subscriber associated with that IP address would

        commit copyright infringement in the future. This is neither a sound assumption

        given the variable content and validity of notices, nor is it realistic for mere conduit

        ISPs to process and make such determinations.              Nevertheless, to insulate

        themselves from crushing liability, ISPs receiving unverified notices of alleged

        copyright infringement could be forced to take the only action within their control:

        cut off internet access to each user of an associated account based on the mere

        possibility that account may be the subject of future notices.

              The consequences of the district court’s decision could be staggering. This


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        new knowledge standard will encourage abuses of how copyright notices are sent.

        Transmission ISPs will receive more and more notices with limited information, to

        the point that meaningful processing will be impossible (to the extent it is not

        already). Fearing astronomical damages for secondary liability, transmission ISPs

        may have no choice but to terminate consumers’ internet access on a massive

        scale. Businesses, schools, libraries, and households could lose access to what has

        become an essential service, based solely on accusations that some unidentified

        person connected through their router committed copyright infringement—

        accusations that mere conduit ISPs have neither the duty nor the ability to

        independently investigate. And the impacted businesses, schools, libraries, and

        households will have no meaningful recourse, with no method to dispute the

        copyright owners’ claims.

              This is a quintessential case of using a cannon to kill a mosquito. The

        consequences of denying consumers access to the internet based on unverified

        allegations of prior copyright infringement cannot be overstated. It has become

        particularly evident over the past year that the internet has become not only an

        essential platform for the exercise of free speech, but a critical means of access to

        education, employment opportunities, vaccines, medical care, defense and

        vindication of legal rights, and access to food and other essential products and

        services.   The Federal Communications Commission (“FCC”) has invested


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        significant resources in promoting the “virtuous cycle” to bring high-speed internet

        access to all Americans, and courts have recognized the severe deprivation posed

        by any attempts to limit access to the internet. In this light, the district court’s

        decision on summary judgment—a finding that notices with limited information

        not subject to verification create sufficient knowledge of infringement to impose

        liability on transmission ISPs—does not comport with either the law or public

        interest, and should be rejected.

                                            ARGUMENT

        I.    THE DISTRICT COURT ERRED BY FINDING THAT COX HAD
              SPECIFIC KNOWLEDGE OF INFRINGEMENT.

              To prevail on a claim for contributory copyright infringement, a plaintiff

        must establish that the defendant “(1) has knowledge of another’s infringement and

        (2) either (a) materially contributes to or (b) induces that infringement.” Perfect 10,

        Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d 788, 795 (9th Cir. 2007). The district court

        found on summary judgment that Cox had knowledge of infringement by its

        residential and business customers, based on notices generated and sent on

        Appellees’ behalf. JA__ (Dkt. No. 610, “Op.”). The court concluded that because

        the notices that Appellees transmitted to Cox included some level of detail, the

        notices provided more than “generalized” knowledge, and were therefore sufficient

        to impute actionable knowledge of infringement to Cox. Op. 18.



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              Amici strongly disagree with the district court’s conclusion regarding Cox’s

        knowledge of infringement. The information included in Appellees’ notices could

        not provide Cox with actual knowledge of specific infringement that it could act

        upon. As this Court recently held, “the proper standard requires a defendant to

        have specific enough knowledge of infringement that the defendant could do

        something about it.” BMG, 881 F.3d at 311-12. These notices fail to provide

        information Cox could do something about, in at least two ways.

              First, the information in the notices is limited, equivocal, and falls short even

        of the notice requirements set out in 17 U.S.C. § 512(c)(3). Second, by virtue of

        transmission ISPs’ services, the notices could not provide actionable information to

        Cox. By the time Cox received the notices, the complained-of infringement was

        complete (if it happened at all), and Cox had no ability to prevent or ameliorate

        that infringement. The only reasonable theory under which the notices provided

        actionable information is that they informed Cox of users who might infringe

        again. But likely to infringe again is not the appropriate standard; the appropriate

        standard is substantial certainty that each subscriber would infringe again—which

        the district court did not and could not find on summary judgment. See Sony Corp.

        of Am. v. Universal City Studios, Inc., 464 U.S. 417, 434-42 (1984); BMG, 881

        F.3d at 309-10.

              In sum, the district court’s ruling regarding Cox’s knowledge of


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        infringement is inconsistent with established precedent and could force

        transmission ISPs, including Amici’s members, to terminate all broadband service

        to subscribers based solely on equivocal, non-statutorily based allegations of prior

        infringement. Given the potentially dire consequences such haphazard termination

        would impose upon the American public, this holding cannot stand.

              A.     ISPs Do Not Acquire Knowledge of Copyright Infringement from
                     Deficient Notices.

              The notices sent to Cox by Appellees in this case are simply too vague to

        place transmission ISPs on notice of infringement, failing to meet even the

        Congressionally mandated threshold set out in analogous statutes. In 17 U.S.C. §

        512(c)(3), Congress mandated specific details to be given to hosted-content

        providers in order to provide them with valid notice of infringement. The notice

        provision requires, inter alia: (1) identification of the copyrighted works allegedly

        infringed; (2) identification of the alleged infringing material, and information

        reasonably sufficient to permit the service provider to locate the material; (3) a

        statement that the complaining party has a good faith belief that the complained-of

        use is not authorized by the copyright owner, its agent, or the law; and (4) a

        statement that the information therein is accurate. 17 U.S.C. § 512(c)(3)(A). If a

        notice fails to substantially comply with these requirements, it must be corrected

        prior to the ISP being deemed to have actual knowledge of the alleged infringing

        activity. Id. § 512(c)(3)(B).

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              Given the parallels between these statutory notice requirements and the

        question of knowledge presented here, Congress’s studied decision when creating

        the Digital Millennium Copyright Act (“DMCA”) and careful balancing of

        competing interests should be given deference. See Sony, 464 U.S. at 431 (“Sound

        policy, as well as history, supports our consistent deference to Congress when

        major technological innovations alter the market for copyrighted materials.

        Congress has the constitutional authority and the institutional ability to

        accommodate fully the varied permutations of competing interests that are

        inevitably implicated by such new technology.”).          In striking this balance,

        Congress recognized the importance of providing service providers not only with

        “information reasonably sufficient . . . to identify and locate the allegedly

        infringing material,” but also to “examine the allegedly infringing material

        expeditiously.” H.R. Rep. No. 105-551, pt. 2, at 55 (emphasis added). Otherwise,

        “if America’s service providers are subject to litigation for acts of third parties at

        the drop of a hat, they will lack the incentive to provide quick and efficient access

        to the Internet.” 144 Cong. Rec. H10615-10621 (1998).

              While Section 512(c)(3) establishes a minimum requirement for notices to

        providers of hosted content, mere conduits would need significantly more

        information than that set out in Section 512(c)(3) to be reasonably held to have

        knowledge. Unlike hosted content providers, which actually store and can control


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        access to content, transmission ISPs “only provide[] Internet access to [their]

        subscribers. Cox does not . . . store copyright-infringing material on its own

        computer servers, or control what its subscribers store on their personal

        computers.” See BMG, 881 F.3d at 299. Transmission ISPs have neither a duty

        nor reasonable means to monitor the transmissions by their subscribers. They also

        have no ability to investigate completed transmissions to confirm the complained-

        of conduct.1 And unlike hosted content, which can be taken down as a targeted

        remedy and includes a process for the accused infringer to challenge the action

        taken, transmission ISPs have no ability to disable the alleged infringement other

        than through terminating internet access—which, as discussed in greater detail

        below, is an extreme punishment in the modern era, especially for unproven

        offenses. It is unfathomable, then, that transmission ISPs can be expected to act

        based on information that is anything but complete, accurate, and verifiable—

        certainly, they cannot act on less information than that required by Section

        512(c)(3).

                The notices here did not provide the information required under Section

        512(c)(3), nor did they rise to the level of specific information that Cox could have

        acted upon. Among their material shortcomings, the notices often equivocated in

        their own assertions, including cautionary language that the target “may be liable,”


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            Even if they could, there would be significant privacy implications to ISPs
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        and that the notices are “accurate, based upon the data available to us”. JA__ (Dkt.

        No. 404 at 28-29). In many cases, the notices did not even identify the alleged

        infringing works. Id.

              Further, while the notices included passing reference to counter-notice

        procedures, they directed the recipient to contact the sender, “not Cox.” See Op.

        18. And, the notices impossibly shifted the burden to the recipient to prove the

        negative—that they did not engage in infringement—based on notices that offered

        only an IP address (which most customers would not know) and a date stamp.

        Requiring ISPs to accept these notices as true without any mechanism for

        verification or dispute is an affront to the due process of consumers and ISPs alike.

              Another critical omission from the notices is the failure to identify the

        alleged infringer with enough particularity for an ISP to act. As mentioned above,

        these notices provided only an IP address and a time stamp, relying on the ISP to

        identify the customer who was assigned to that IP address at that time. Given the

        dynamic nature of IP assignments, if the time used by the copyright owner is not

        perfectly synced with the time used by the ISP, it could result in the ISP

        identifying the wrong subscriber. See, e.g., In re Application of the United States

        for an Order Pursuant to 18 U.S.C. § 2703(d), 830 F. Supp. 2d 114, 120 (E.D. Va.




        accessing subscribers’ computers or investigating subscribers’ internet histories.

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        2011) (noting dynamic IP addressing, in which a particular customer’s IP address

        can change each time she logs onto the internet).

              Even if the IP address accurately identified the subscriber named on the

        account, the notice did not necessarily identify the individual responsible for the

        alleged infringement—be it a family member, a guest in the household, or

        someone unknown to the subscriber taking advantage of an unsecured network.

        The District of Connecticut addressed this issue quite plainly in a recent decision

        denying default judgment on copyright claims:

                    Imagine that someone accesses the internet via a
                    particular internet protocol (“IP”) address and illegally
                    downloads movies. That IP address was assigned by an
                    internet service provider (“ISP”) to one of its subscriber
                    accounts. Is it fair to say that the ISP account
                    subscriber—the person who pays the internet bill—is the
                    individual who must have engaged in the illegal activity
                    and who should pay a large damages award if he or she
                    does not appear in court to deny doing anything wrong?
                    At a time when wireless internet networks and personal
                    electronic devices are ubiquitous, and when network
                    passwords, logins for TV streaming services, and
                    Amazon accounts are freely shared with family, friends,
                    roommates, businesses, and even strangers, I don’t think
                    so.




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        Malibu Media, LLC v. Doe, No. 3:18-CV-01369 (JAM), 2020 WL 4719219, at *1

        (D. Conn. Aug. 13, 2020).2 Likewise, should a transmission ISP be found to have

        knowledge of its customer’s copyright infringement, such that it must either

        terminate that customer’s access or face extraordinary liability, when it has no

        information that its customer is the person who allegedly infringed?3 The clear

        answer is no. Cf. BMG, 881 F.3d at 311 (finding that information that did not

        show which subscribers were infringing provides only “generalized knowledge

        [that] does not reflect an intent to cause infringement”).

              The problems with the notices increase exponentially when considered in

        context. Transmission ISPs can receive thousands (or millions) of notices each

        day. Their ability to process the notices is limited (e.g., by insufficient information


        2
          This Malibu Media case is just one in a line of cases filed by a notorious
        copyright troll, prompting numerous courts to push back on the idea that IP
        addresses constitute sufficient evidence to hold individuals responsible for internet
        copyright infringement. See, e.g., Malibu Media, LLC v. Does 1-5, No. 12 Civ.
        2950(JPO), 2012 WL 2001968, at *1 (S.D.N.Y. June 1, 2012); Malibu Media, LLC
        v. Fodge, No. 14-7611 (KM) (JBC), 2016 WL 1337259, at *3 (D.N.J. Apr. 5,
        2016); Malibu Media, LLC v. Mantilla, No. 3:18-cv-01369 (JAM), 2020 WL
        6866678, at *1 (D. Conn. Nov. 20, 2020).
        3
          Appellees and the district court quoted BMG Rights Mgmt. (US) LLC v. Cox
        Commc’ns, Inc., for the proposition that “[w]hile identity is a key issue in many
        individual infringement suits, it has little relevance in a large-scale secondary
        liability suit.” 149 F. Supp. 3d 634, 664 (E.D. Va. 2015), aff’d in part, rev’d in
        part, 881 F.3d 293 (4th Cir. 2018) (“BMG I”); Op. 23. But to simply dismiss
        individual identity in this manner fails to see the forest for the trees. Indeed,
        Appellees went on to distinguish the Cobbler Nev., LLC v. Gonzalez decision
        because that case addressed “concerns about imposing duties and liability upon
        private internet subscribers.” Op. 23. Those same private internet subscribers will
        feel the brunt of the district court’s decision here; if this sweeping finding
        regarding knowledge stands, transmission ISPs may be forced to swiftly terminate
        those private subscribers’ access based on nonspecific notices.

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        and time constraints), much less investigate the notices to determine if they warrant

        termination of a customer’s essential access to the internet or even hint at possible

        repeat infringement.   By imputing knowledge to mere conduit ISPs based on

        notices that cannot meet even the Congressional standard for hosted content

        providers, the district court placed an insurmountable burden on the ISPs’

        shoulders. It cannot be that transmission ISPs must blindly accept all notices,

        regardless of content, and terminate subscribers’ access to the internet based on

        unproven and unverifiable allegations.

              B.     The Takedown Notices at Issue Here Fail to Provide Knowledge
                     of Actionable Infringement.

              The district court’s decision also fails because the notices relating to prior

        infringement of the claimant’s works, considered en masse, do not provide

        knowledge of actionable infringement.4 For an ISP to be contributorily liable for

        copyright infringement, it must both have knowledge of infringement and

        materially contribute to that infringement. Op. 15 (emphasis added). The notices

        at issue here did not provide Cox with knowledge sufficient to act on the

        infringement the notices identified. Transmission ISPs do not host data, but rather


        4
          Deficient notices misdirected to transmission ISPs also increase the likelihood
        that copyright owners will violate 17 U.S.C. § 512(f). Section 512(f) requires the
        copyright owner to consider fair use and other non-infringing uses before sending
        such notices. Transmission ISPs, as mere conduits, would have no way to see the
        allegedly infringing material, much less determine if the copyright owner has met
        its duty to consider permissible uses of such material. See Lenz v. Universal Music
        Corp., 801 F.3d 1126 (9th Cir. 2015).

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        facilitate the transmission of data.          Upon receiving notice of copyright

        infringement, Amici’s members cannot go to a site or server location, identify the

        alleged infringing material, and take that material down. By the time they learn of

        the alleged infringement, the transmission is long-since complete. The ISP has no

        means to prevent that infringement, nor any means to alter or even review what

        happened.

              Implicit, then, in the district court’s order is the assumption that once a

        subscriber has been accused of past copyright infringement, an ISP must act to

        prevent that subscriber from possibly infringing again in the future. But the

        relevant question cannot be simply whether the subscriber has allegedly infringed

        in the past. See MGM v. Grokster, Ltd., 545 U.S. 913, 937 (2005) (“[M]ere

        knowledge of infringing potential or of actual infringing uses would not be enough

        to subject a distributor to liability.”); BMG, 881 F.3d at 312 (requiring knowledge

        that the ISP can “do something about”). The question is whether the particular

        subscriber in question will infringe again—whether “infringement is substantially

        certain to result from Cox’s continued provision of Internet access to particular

        subscribers.” BMG, 881 F.3d at 311.

              When considering the proper question—whether Cox knew or willfully

        blinded itself to the substantial certainty that particular subscribers will infringe

        again—it is clear that the district court’s decision was both procedurally and


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        substantively inappropriate.     Procedurally, the question of knowledge of a

        particular subscriber’s actions and likelihood that the subscriber would infringe

        again is a highly fact specific inquiry, poorly suited for summary judgment.

        Certainly, it is not appropriate to determine whether each subscriber will infringe

        again from only a few representative notices, as the court did here. See Op. 18.

              Substantively, the district court relied on an arbitrary standard that does not

        provide nearly enough information for Cox to have actionable knowledge. The

        court appears to have adopted Appellees’ position that three notices of alleged

        infringement for a single subscriber is sufficient to impute knowledge to a

        transmission ISP. Op. 3. Such a bright line approach is both deficient and ripe for

        error. First, to assume knowledge based on a threshold number of notices—of

        which the content is variable and the veracity is unknown—is to replace the

        knowledge requirement with a probability determination: after a certain number of

        notices, is it likely a particular user will engage in future infringement?5 Amici see

        no daylight between this probability determination and the “should have known”

        negligence standard rejected in BMG, 881 F.3d at 310.

              Second, the number of notices alone cannot serve as a reliable proxy for

        actual knowledge. There is no law, either enacted by Congress or decided by


        5
          The record before the district court suggested just the opposite—that most
        customers receiving notices were not likely to receive another. See Dkt. No. 27 at
        42.

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        courts, identifying the number of alleged infringements that are “allowed” before

        an ISP is required to disconnect the customer’s service.6 Indeed, 17 U.S.C. §

        512(i) dictates just the opposite, encouraging the service provider to use a flexible

        and careful approach to termination by reasonably implementing a policy for

        repeat infringers, and enforcing it in “appropriate circumstances.”7 Furthermore,

        as addressed above, the information provided in notices can be variable and

        equivocal. Subscribers should be given an opportunity to contest such notices. See

        generally Lenz, 815 F.3d 1145 (finding that copyright owner could be liable for

        material misrepresentations to service provider). And, in instances similar to the

        present case in which Appellees specifically directed targets not to contact Cox,

        ISPs may be unaware of the resolution of such contests. How can a transmission

        ISP be held to a standard of actual knowledge or willful blindness based on

        standards not set by Congress, that bear little resemblance to real-world knowledge

        of actual infringement?


        6
          Further complicating a transmission ISP’s ability to take meaningful action to
        prevent infringement, there is no law specifying how long a customer’s service
        must be disconnected or even ways to prohibit the subscriber from quickly
        switching to another ISP (assuming there is another one in the location where the
        subscriber resides).
        7
          In explaining this flexible standard, Congress noted that not all accusations of
        infringements are created equal—“that there are different degrees of on-line
        copyright infringement, from the inadvertent and noncommercial, to the willful
        and commercial”—and that this standard was not intended to undermine providers’
        protections “by suggesting that a provider must investigate possible infringements,
        monitor its services, or make difficult judgments as to whether conduct is or is not
        infringing.” H.R. Rep. No. 105-551, pt. 2, at 61.

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              Third, Appellees’ three-notice threshold is untenable. Transmission ISPs

        receive, at times, millions of notices a day. Two notices could come in for one IP

        address in a single day—or a single hour. If the ISP has not had time to process

        those notices and act accordingly by the time the third notice rolls in, can it really

        be said that the ISP knowingly contributed to infringement?8 The sheer number of

        notices, without context regarding timing, processing, and content, provides no

        meaningful information regarding what an ISP knew, when it knew it, and whether

        remedial actions were appropriate.

              The district court’s decision on summary judgment, that Cox possessed

        actionable knowledge of infringement based on a bulk assessment of unverifiable

        notices of past acts of alleged infringement, diminishes the knowledge standard

        that this Court tightened just a few years ago. The implications of relaxing this

        standard could be devastating, given the critical nature of the non-infringing uses

        of ISP service.

        II.   EXPANDING CONTRIBUTORY LIABILITY TO GENERAL
              KNOWLEGE IMPERMISSIBLY BURDENS ISPS AND IMPEDES
              FEDERAL TELECOMMUNICATIONS POLICY.

              Amici cannot overstate the importance of considering the real-world

        implications of the district court’s decision regarding knowledge. Cox was hit with

        8
          Further, ISPs may receive multiple notices for the same copyrighted work. ISPs
        have no clear guidance on whether these must count as one notice (as they may
        reflect only a single act of infringement) or multiple notices for the purposes of
        determining when termination is appropriate.

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        a $1 billion judgment, not for any affirmative act of infringement by Cox, but for

        not acting expeditiously in terminating large numbers of customers’ access to the

        internet.   The court’s decision—that mere conduit ISPs gain knowledge of

        prospective infringement based on the sheer number of notices, regardless of their

        validity or veracity—could open all transmission ISPs to significant risk of similar

        findings unless they discontinue internet access to entire households and business.

        This is contrary to Congress and the FCC’s goal of increasing access to the internet

        to advance the “virtuous cycle” of innovation and growth.

               Indeed, the exponential growth in access to the internet is no accident. It is a

        direct result of federal policies designed “to promote the continued development of

        the Internet,” 47 U.S.C. § 230(b)(1), and “encourage the deployment on a

        reasonable and timely basis of advanced telecommunications capability to all

        Americans,” 47 U.S.C. § 1302(a). ISPs have made great gains in recent years to

        the benefit of Americans who previously lacked access to high-speed broadband

        services. In 2019, the number of Americans living in areas without access to high-

        speed internet service dropped from 18.1 million to 14.5 million, with the great

        majority of those gains in rural areas. See In the Matter of Inquiry Concerning

        Deployment of Advanced Telecommunications Capability to All Americans in a

        Reasonable      and   Timely    Fashion,    36   FCC     Rcd     836,     837   (2021),

        https://docs.fcc.gov/public/attachments/FCC-21-18A1_Rcd.pdf.            Further, mobile


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        providers have decreased the number of Americans lacking access to 4G LTE

        mobile broadband by 57%. Id. By the end of 2019, 94% of Americans had access

        to both fixed and mobile broadband service. Id. at 837-38.

              The district court’s decision could cause a significant backslide in these

        efforts, and the effects of the decision will be felt most acutely by consumers who

        run the risk of losing access to what has become a truly essential service. Since the

        onset of the COVID-19 pandemic, the value of reliable Internet service has never

        been clearer. Increasingly, entire households depend on a single high-speed

        Internet connection for critical activities such as virtual learning, telework, medical

        visits, and more. This increased dependency has been repeatedly noted:

            The FCC found an “explo[sion]” in the use of telehealth in response to the

              pandemic—a “vital tool” to providing patient care while minimizing risk of

              exposure to COVID-19. See In the Matter of COVID-19 Telehealth

              Program; Promoting Telehealth for Low-Income Consumers, Report and

              Order and Order on Reconsideration, WC Dkt. No. 20-89; 18-213, FCC 21-

              39, at 2 ¶ 1 (Mar. 30, 2021), https://docs.fcc.gov/public/attachments/FCC-

              21-39A1.pdf.

            The FCC has recognized that the emphasis on virtual learning, telemedicine,

              and telework during the pandemic “has only increased every household’s

              need for access to broadband services.” See In the Matter of Emergency

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              Broadband Benefit Program, Report and Order, WC Dkt. No. 20-445, FCC

              21-29, at 2 ¶ 1 (Feb. 26, 2021), https://docs.fcc.gov/public/attachments/FCC-

              21-29A1.pdf.

            The Consortium of School Networking recently urged Congressional action

              to address the “cruelest aspect of the digital divide”: children without

              Internet connectivity who are “unable to participate in online learning, after-

              school enrichment, and programs that help address loss of opportunities to

              learn during this difficult time.” Feb. 10, 2021 Ltr. to House Committee on

              Energy                              &                              Commerce,

              https://www.cosn.org/sites/default/files/Homework%20Gap%20Coalition%

              20letter-House%20E%26C%20re%20E-rate%20funds%202.10.21.pdf.

              In recognition of the significantly increased need for internet accessibility,

        Congress committed billions of dollars to increase accessibility and capabilities.

        See, e.g., American Rescue Plan Act, 2021, H.R. 1319, 117th Cong., tit. VII, §

        7402 (2021) (establishing the $7.171 billion Emergency Connectivity Fund to help

        schools and libraries provide connectivity to students, staff, and patrons);

        Consolidated Appropriations Act, 2021, Pub. L. No. 116-260, div. N, tit. IX, § 904,

        134 Stat. 1182, 2130 (2020) (establishing the $3.2 billion Emergency Connectivity

        Fund to help Americans afford internet service during the pandemic). Industry has

        rallied around these efforts, with over 800 companies signing up to participate in

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        the Emergency Broadband Benefit program, see https://www.fcc.gov/emergency-

        broadband-benefit-providers, and 800 companies and associations pledging, inter

        alia, to “not terminate service to any residential or small business customers

        because of their inability to pay their bills due to the disruptions caused by the

        coronavirus     pandemic,”    see      FCC,     “Keep     Americans    Connected,”

        https://www.fcc.gov/keep-americans-connected.

              Numerous courts also have addressed the increasing essentiality of internet

        access and have taken an appropriately cautious approach to actions that would

        deprive Americans of this resource. Even in cases where the alleged wrongdoers’

        actions are deeply damaging to society and public safety, courts are extremely

        reluctant to terminate internet access.     In Packingham v. North Carolina, the

        Supreme Court struck down a law making it a felony for registered sex offenders

        to access certain social media, finding that it prevented the impacted individuals’

        ability to legitimately exercise their First Amendment rights. 137 S. Ct. 1730,

        1737 (2017). In so holding, the Supreme Court emphasized the importance of

        internet access, noting that the law “bars access to what for many are principal

        sources for knowing current events, checking ads for employment, speaking and

        listening in the modern public square, and otherwise exploring the vast realms of

        human thought and knowledge.” Id.




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               Expanding upon Packingham, the Second Circuit in United States v. Eaglin

        was reluctant to terminate internet access even for an individual convicted of

        felonious sexual assault of children. 913 F.3d 88 (2d Cir. 2019). The Second

        Circuit found that “the imposition of a total Internet ban as a condition of

        supervised release inflicts a severe deprivation of liberty.” Id. at 97. Its reasoning

        rested in part on the “essential” nature of the internet, “as it provides avenues for

        seeking employment, banking, accessing government resources, reading about

        current events, and educating oneself.” Id. at 98. “[T]o consign an individual to a

        life virtually without access to the Internet is to exile that individual from society.”

        Id. at 91.

               Many other circuits have reached similar conclusions regarding the

        importance of internet access. See, e.g., United States v. LaCoste, 821 F.3d 1187,

        1191 (9th Cir. 2016) (“Use of the Internet is vital for a wide range of routine

        activities in today’s world—finding and applying for work, obtaining government

        services, engaging in commerce, communicating with friends and family, and

        gathering information on just about anything, to take but a few examples. Cutting

        off all access to the Internet constrains a defendant’s freedom in ways that make it

        difficult to participate fully in society and the economy.”); United States v. Sealed

        Juv., 781 F.3d 747, 756 (5th Cir. 2015) (“We must recognize that access to

        computers and the Internet is essential to functioning in today’s society. The


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        Internet is the means by which information is gleaned, and a critical aid to one’s

        education and social development.”); United States v. Perazza-Mercado, 553 F.3d

        65, 72 (1st Cir. 2009) (“[W]e must be cognizant of the importance of the internet in

        today’s world. An undue restriction on internet use ‘renders modern life—in

        which, for example, the government strongly encourages taxpayers to file their

        returns electronically, where more and more commerce is conducted on-line, and

        where vast amounts of government information are communicated via website—

        exceptionally difficult.’ . . . In light of the ‘ubiquitous presence’ of the internet and

        the ‘all-encompassing nature of the information it contains,’ a total ban on

        [defendant’s] internet use at home seems inconsistent with the vocational and

        educational goals of supervised release.” (internal citations omitted)).           Most

        recently, the Northern District of California found restrictions on internet access by

        a child pornography offender to be unduly broad, in light of the significant,

        growing, and ever-changing nature of the internet:

                     [T]he internet has become, for many people, a primary
                     source of news and social interaction, and a primary
                     means of buying food, looking for jobs, and booking
                     transportation. Partially in recognition of the internet’s
                     growing importance, the Second, Third, Seventh, Eighth,
                     and Tenth Circuits have all held that conditions of release
                     banning internet use (or conditioning use on the prior
                     approval of a probation officer) are unreasonable. The
                     role that the internet plays in society has dramatically
                     increased even in the last twenty years, and will
                     undoubtedly continue to change in unforeseen ways in


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                     the future. The restrictions imposed on child pornography
                     offenders must account for these changes.

        United States v. Carter, No. 20-CR-00253-VC-1, 2021 WL 1246772, at *1 (N.D.

        Cal. Apr. 5, 2021) (internal citations omitted).

              In this context, the district court’s decision simply cannot stand.        It is

        unconscionable that courts would recognize the need for a more permissive

        approach to internet access for convicted sex offenders while, at the same time,

        applying copyright law in a manner that could force transmission ISPs to terminate

        internet access for ever increasing numbers of consumers—who have not even

        been convicted of the action alleged. In light of courts’ recognition of the essential

        nature of the internet, it is contrary to public interest9 to force ISPs to cut off an

        entire household’s or business’ internet access, based not on convictions of heinous

        crimes, but rather on equivocal and unverifiable allegations of past copyright

        infringement by an unknown party.

              The district court, and other courts in the past, have understandably shown

        regard for the difficulty copyright holders experience pursuing direct infringement

        claims. E.g., Op. 24; Sony, 464 U.S. at 442 (noting the need for “effective—not

        merely symbolic—protection of the statutory monopoly”). But the district court’s

        opinion here swings the pendulum too far in the other direction. To give copyright

        9
          And again, it is also contrary to Congressional intent in enacting the DMCA,
        which dictates a flexible approach to terminating repeat infringers. See 17 U.S.C.
        § 512(i).

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        holders easier recourse, the district court has potentially set America on a path

        toward one of two unacceptable results: either (1) transmission ISPs fold under

        crippling liability judgments, or (2) ISPs avoid liability by cutting off internet

        connections to entire businesses and households based on equivocal and

        unverifiable notices, in ways that could be arbitrary and unjust. Courts cannot and

        should not prioritize copyright holders’ ease of access to recourse above all else—

        they “must strike a balance between a copyright holder’s legitimate demand for

        effective . . . protection of the statutory monopoly, and the rights of others freely to

        engage in substantially unrelated areas of commerce.” Sony, 464 U.S. at 442; see

        also id. at 431-32 (noting that copyright law must always be construed in light of

        its purpose to serve the public interest); Grokster, 545 U.S. at 928 (“The more

        artistic protection is favored, the more technological innovation may be

        discouraged; the administration of copyright law is an exercise in managing the

        tradeoff.”); Perfect 10, 494 F.3d at 794-95 (“We evaluate [plaintiff’s] claims with

        an awareness that credit cards serve as the primary engine of electronic commerce

        and that Congress has determined it to be the ‘policy of the United States—(1) to

        promote the continued development of the Internet and other interactive computer

        services and other interactive media [and] (2) to preserve the vibrant and

        competitive free market that presently exists for the Internet and other interactive

        computer services, unfettered by Federal or State regulation.’ . . . To find that


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        Defendants’ activities fall within the scope of such tests would require a radical

        and inappropriate expansion of existing principles of secondary liability and would

        violate the public policy of the United States.”). By requiring ISPs to err on the

        side of prophylactic termination, the district court decision could have devastating

        and unjust effects on consumers and America’s internet success story.

                                         CONCLUSION

              The Court should reverse the district court’s ruling on summary judgment

        regarding Cox’s knowledge of infringement, and remand for reconsideration of

        contributory infringement based on actual knowledge of infringement or willful

        blindness thereof.




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                                               Respectfully submitted,



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                                CERTIFICATE OF COMPLIANCE

              This brief complies with the type volume limitation of Federal Rules of

        Appellate Procedure 29(d) and 32(a)(7)(B) because this brief contains 6479 words,

        excluding the parts of the brief exempted by Federal Rule of Appellate Procedure

        32(a)(7)(B)(iii).

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        proportionally spaced typeface using Microsoft Office Word 2010 in Times New

        Roman, 14 point.


                                        /s/ Megan L. Brown




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                                 CERTIFICATE OF SERVICE

              I hereby certify that on June 1, 2021, the foregoing brief was filed

        electronically using the Court’s CM/ECF system, which will send notification of

        such filing to party counsel, all of whom are registered ECF filers.




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